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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

In re:

HOUSTON REGIONAL SPORTS                                 Chapter 11
NETWORK, L.P.,
                                                        Case No. 13-35998
                             Debtor.


             ORDER GRANTING COMCAST CLAIMANTS' MOTION TO SEAL
         Upon consideration, the Motion To Seal [Dkt. No. ___] filed by Comcast Claimants1 (the

“Movants”) is hereby GRANTED. It is hereby ORDERED that:

         The Reply to the Proponents’ Consolidated Brief on Estimation for Voting Purposes of

Unsecured Claims of the Astros Entities and the Rockets Entities [Dkt. No. ___] (the “Reply”)

may be filed under seal pursuant to the Agreed Protective Order Regarding Plan-Related

Materials and Authorizing Certain Filings Under Seal [Dkt. No. 486] (“Protective Order”); and

         Movants will provide the Court with a copy of the Reply; and

         Any copies of the Reply in the Court’s possession are hereby sealed.

SIGNED this ____ day of September, 2014

                                                          Marvin Isgur
                                                          United States Bankruptcy Judge




1
 Houston SportsNet Finance LLC, Comcast Sports Management Services, LLC, National Digital Television Center
LLC d/b/a Comcast Media Center, NBCUniversal Media LLC, SportsChannel New England LLC, SportsChannel
Pacific Associates, and Houston SportsNet Holdings LLC.


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